Citation Nr: 1413870	
Decision Date: 03/31/14    Archive Date: 04/10/14

DOCKET NO.  09-44 885	)	DATE
	)

On appeal from the
Department of Veterans Affairs Regional Office in Waco, Texas


THE ISSUE

Entitlement to service connection for a low back disability.


REPRESENTATION

Veteran represented by:	Disabled American Veterans


WITNESS AT HEARING ON APPEAL

The Veteran


ATTORNEY FOR THE BOARD

Ryan P. Connally, General Attorney

INTRODUCTION

The Veteran served on active duty from January 1981 to January 1984.

This matter was originally before the Board of Veterans' Appeals (Board) on appeal from a June 2008 decision of the Waco, Texas Department of Veterans Affairs (VA) Regional Office (RO).  In April 2011, the Veteran appeared at a hearing before a Veterans Law Judge (VLJ).  In December 2011, the Board issued a decision that denied the claim of entitlement to service connection for a low back disability.


ORDER TO VACATE

The Board may vacate an appellate decision at any time upon request of the appellant or his or her representative, or on the Board's own motion, when an appellant has been denied due process of law.  38 U.S.C.A. § 7104(a) (West 2002); 38 C.F.R. § 20.904 (2013).    

In September 2013, pursuant to a settlement agreement in the case of National Org. of Veterans' Advocates, Inc. v. Secretary of Veterans Affairs, 725 F.3d 1312 (Fed. Cir. 2013), the Board sent the Veteran a letter notifying him of an opportunity to receive a new decision from the Board that would correct any potential due process error relating to the duties of the VLJ that conducted the April 2011 hearing.  See Bryant v. Shinseki, 23 Vet. App. 488 (2010) (holding that the requirements of 38 C.F.R. § 3.103(c)(2) apply to a hearing before the Board and that a VLJ has a duty to explain fully the issues and to suggest the submission of evidence that may have been overlooked).  In October 2013, the Veteran responded that he wished to have the prior decision vacated and a new one issued in its place.




Accordingly, the December 2011 Board decision is vacated.  



	                        ____________________________________________
	D. C. SPICKLER
	Veterans Law Judge, Board of Veterans' Appeals


